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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA                      :
                                                :       CASE NO. 21-cr-46-RDM
                   v.                           :
                                                :
  PATRICK MONTGOMERY,                           :
                                                :
                                                :
                                                :
                          Defendant.            :


              Defendant Montgomery’s Motion for Modification of Pretrial Release

          Defendant Montgomery moves for a modification of his pre trial release conditions.
          Montgomery would like to have his curfew extended to 10 pm each evening instead
          of the current curfew of 8 pm. Mr. Montgomery has become more involved with
          his church in the preceding months, becoming a youth group leader and would like
          to participate and become more active in the various meetings and activities held in
          the evenings.


  Dated: November 10, 2023                                                    Respectfully Submitted,

                                                                                     /s/ John M. Pierce
                                                                                         John M. Pierce
                                                                                  21550 Oxnard Street
                                                                                  3rd Floor, PMB #172
                                                                            Woodland Hills, CA 91367
                                                                                  Tel: (213) 400-0725
                                                                    Email: jpierce@johnpiercelaw.com




                                   CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, November 10, 2023, I caused a copy of

the foregoing document to be served on all counsel through the Court’s CM/ECF case filing

system.



                                               /s/ John M. Pierce

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                           John M. Pierce




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